Case 9:24-cv-00085-MJT Document 1-4 Filed 04/30/24 Page 1 of5 PagelD#: 20

EXHIBIT
& Caterpillar Financial Services Corporation
pom, 2120 Wesi End Ave
P.O. Box 340001
La Nashville, TN 37203 - 0001
. 1-800-651-0567
Financial
Payoff Quote
Contract Number: 001-0856344-000
Customer Name: GREENLEAF RESOURCES INC
PO BOX 390
MONAHANS, TX, 79756
USA

This payoff is based on the assumption that all curreni open payments have not been made. This payoff is not final or binding untit
all monies to satisfy the debt are collected by us

{f you intend to remit payment beyond the payoff date. please add the per diem amount for each addilional day

Payoff Total: USD 157,041.08 Pay By Wire
Per Diem: USD 28.58 Chase Manhattan Bank
Good Through Date: September 07, 2017 New York. NY
ABA #021-000021
Payoff total includes alt IIne Items below: Attn: Calerpillar Financial Services Corporation
Sales Tax: USD 0.00 acct #910-2-469872
ol, Late Charges: USD 843.03 .
Processing Fee: USD 275.00 Pay Online
Cat Insurance: USD 0.00 www catfinanciai.com >= My Account
Maintenance and Repair: USD 0.00
Pay By Check
Serial # Modal # CATERPILLAR FINANCIAL SERVICES CORPORATION
ASWO00404 RM-500 P.O. BOX 730681
C5P00680 CP56 DALLAS. TX 753730684

Contract # 001-0856344-000

Please include your contract number on all remittances.
Payoffs received via wire transfer are processed within two
business days. Checks and online payments require five
business days to process to ensure the funds have cleared
before liens are released.

Thank you for your business. Please review imporlant information below or review our Frequently Asked Questions at
www.calfinancial cam/us/faq, Contact us at NABC Payolfs@cat-com or 1-888-228-8811 for additional assistance.

The processing fee is included to cover the costs of early termination of the contract and the lien release. Upon clearing of finds, a
tien release will be filed electronically with the appropriate jurisdiction, any necessary litle releases will be requested. and paid tn full
documentation will be sent to lhe Customer fisted above, unless we have an additional securily interest in the equipment in
connection with another transaction.

Prepared By: Kendail Ashby Prepared On: August 28, 2017
Case 9:24-cv-00085-MJT Document 1-4 Filed 04/30/24 Page 2 of 5 PagelD#: 21

A Caterpillar Financial Services Corporation
Ia! 2120 West End Ave
em Financial P.O. Box 340001

Nashville, TN 37203-0001
1-888-228-8811

Payoff Quote
Contract Number: 001-0672381-000
Customer Name: GREENLEAF RESOURCES INC.

P.O. BOX 390
MONAHANS, TX 79756

The below payoff is based on the assumption that the August 09, 2017 payment has not been made. This payoff is not final or
binding until all monies to satisfy the debt are collected by us.

If funds will be received after the Good Through Date, please add the Per Diem Amount for each additional day.

Payoff Total: $26,418.05 Pay by Wire:
Per Diem: $0.09 Chase Manhattan Bank
NY, NY
Good Through Date: September 07, 2017 ABA# 021-000021
Caterpillar Financial Services Corp.
Payoff total includes all the line items below: Acct? 910-2-469872
Balance: $26,799.00
Sales Tax: $0.00 Pay Online
lie. Additional Tax: $0.00 www.catfinancial.com > My Account
Late Charges: $1,342.05
Pay by Check
Miscellaneous Charges: $0.00
Processing Fee: $275.00 Caterpillar Financial Services Corporation
' $0.00 PO Box 730681
Se ee Dallas, TX 75373 - 0681
Please include your contract number on all
erase 4 seaat remittances. Payoffs received via wire transfer are
processed within two business days. Checks and
online payments require five business days to
process to ensure the funds have cleared before
liens are released.
Thank you for your business. Please review important information below or review our Frequently Asked Questions at
www.catfinancial. corm/us/faq. Contact us at NABC.Payoffs@cat.com or 1-888-228-8811 for additional assistance.
The processing fee is included to cover the costs of early termination of the contract and the lien release. Upon clearing of
funds, a lien release will be filed electronically with the appropriate jurisdiction, any necessary title releases will be requested,
and paid in full documentation will be sent to the Customer listed above, unless we have an additional security interest in the
equipment in connection with another transaction.
a,

Prepared by: Lamar Allen Prepared on: August 28, 2017
Case 9:24-cv-00085-MJT Document 1-4 Filed 04/30/24 Page 3 of5 PagelD#: 22

Caterpillar Financtal Services Corporation
2120 Wesl End Ave

P.O. Box 340001

Nashville, TN 37203 - G001

1-800-651-0567

~ CAT

Financial

Payoff Quote

Contract Number: 001-0664938-000

Customer Name: GREENLEAF RESOURCES INC
PO. BOX 390
MONAHANS. TX, 79756
USA

This payoff is based on the assumption that all current open payments have not been made. This payoff is not final or binding until
all monies to satisfy the debt are collected by us

Hf you intend to remit payment beyond the payoff date. please add ihe per diem amount for each additional day

Payoff Total: USD 76,774.36 Pay By Wire
Per Diem: USD 0.00 Chase Manhattan Bank
Good Through Date: September 07, 2017 New York, NY
ABA #021-000021
Payoff total includes all line items below: Attn: Caterpillar Financial Services Corporation
Sales Tax: USD 0.00 accel #910-2-469872
am, Late Charges: USD 5,884.55 .
Processing Fee: USD 275.00 Pay Online
Cat Insurance: USD 0.00 www. calfinancial.com > My Account
Malntenance and Repair: USD 0.00
Pay By Check
Serial # Model! # CATERPILLAR FINANCIAL SERVICES CORPORATION
ROWO1165 DETXWVP P.O. BOX 730681
GMK00555 D6TXL DALLAS, TX 753730681
M9D01052 140M2 Contract # 00+-0664938-000

Please include your contract number on all remittances.
Payoffs received via wire \ransfer are processed within two
business days. Checks and online payments require tive
business days to process to ensure the funds have cleared
before liens are released

Thank you for your business, Piease review imporiant information below or review our Frequently Asked Questions al
www.catfinancial.com/us/faq. Contacl us at NABC.Payolfs@cat.com or 1-888-228-8811 for additional assistance

The processing fee is included to cover ihe costs of early termination of the contract and the lien release. Upon clearing of funds, a
lien release will be filed electronically with the appropriate jurisdiction, any necessary title releases will be requested. and paid in full
documentation will be sent lo the Customer listed above, unless we have an additional security interest in the equipment in
conneclion with another lransaclion.

Prepared By: Kendall Ashby Prepared On: August 28, 2017
Case 9:24-cv-00085-MJT Document 1-4 Filed 04/30/24 Page 4 of 5 PagelD#: 23

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Texas

John White

Plaintiff(s)

v. Civil Action No.

Lloyd Gillespie

Defendant(s)

Nem ee Ne Nee Smee emt ee ee ee Se ee et”

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address} Lloyd Gillespie

279 County Road 303, Nacogdoches, TX 75961, Nacogdoches County

A lawsuit has been filed against you.

Within 2] days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2} or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ronald D. Stutes

Fairchild, Price, Haley, and Smith L.L.P
2341 Dueling Oaks, Suite 100,
Tyler, Texas 75703

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:
Signature of Clerk or Deputy Clerk
Case 9:24-cv-00085-MJT Document 1-4 Filed 04/30/24 Page 5 of5 PagelD#: 24

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual and title, if any)

was received by me on (date)

Date:

© I personally served the summons on the individual at (place)

on (date) ; or

0 I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

C) I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
0) I returned the summons unexecuted because ; or
O Other (specif):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
